AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT                                                               Jun 01, 2022

                                                                   for the                                                 s/ DarylOlszewski
                                                       Eastern District
                                                     __________         of Wisconsin
                                                                 District  of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.          0-        
A black Apple iPhone telephone with a cracked back                           )
     area of the phone, with telephone number                                )
                                                                             )
      262-331-8620 associated with the device
    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A

located in the              Eastern               District of                 Wisconsin                 , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. Section 922(g)                  Unlawful possession of a firearm by a prohibited person



          The application is based on these facts:
        See attached affidavit

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                    ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached hed sheet.


                                                                                                       Applicant’s signatur
                                                                                                                   signature

                                                                                                Craig Fries, Special Agent, ATF
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
       WHOHSKRQH                                      (specify reliable
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Date:         
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City and state: Milwaukee, Wisconsin                                             Honorable:LOOLDP('XIILQ,UnitedStatesMagistrateJudge
                                                                                       bl :LOOL    ( ' IIL U it d St
                      Case 2:22-mj-00076-WED Filed 06/01/22 Page 1 of Printed name and title
                                                                      10 Document            1
                       AFFIDAVIT IN SUPPORT OF AN
                     APPLICATION UNDER RULE 41 FOR A
                      WARRANT TO SEARCH AND SEIZE

       I, Craig Fries, being duly sworn, state as follows:

                  INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application under Rule 41 of the

Federal Rules of Criminal Procedure for a search warrant authorizing the

examination of property— electronic device—which are currently in law enforcement

possession, and the extraction from that property of electronically stored information

described in Attachment B.

       2.      I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and

Explosives. I have been so employed since approximately 2014.

      3.       As part of my duties as an ATF Special Agent, I investigate criminal

violations relating to the federal firearms laws, including Title 18, United States Code,

Sections 922 and 924. I have participated in the execution of multiple federal search

warrants. This affidavit is made in support of an application under Rule 41 of the

Federal Rules of Criminal Procedure for a search warrant authorizing the

examination of property— electronic device—which are currently in law enforcement

possession, and the extraction from that property of electronically stored information

described in Attachment B, concerning the unlawful possession of a firearm by a

prohibited person, in violation of Title 18, United States Code, Section 922(g).

       3.      The statements in this affidavit are based on my personal knowledge,

and on information I have received from other law enforcement personnel, my review




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of reports written by other law enforcement personnel, and from persons with

knowledge regarding relevant facts. Because this affidavit is being submitted for the

limited purpose of securing a search warrant, I have not included each and every fact

known to me concerning this investigation. I have set forth facts that I believe are

sufficient to establish probable cause to believe that evidence and instrumentalities

of violations of Title 18, United States Code, Section 922(g) are located within the

Device.

            IDENTIFICATION OF THE DEVICE TO BE EXAMINED

      4.      The property to be searched is described as follows:

              a.    A black Apple iPhone telephone with a cracked back area of the

phone, with telephone number 262-331-8620 associated with the device, hereinafter

“Device A;”

      5.      Device A is currently located at 730 Center Street, Racine, Wisconsin,

53403.

      6.      The applied-for warrant would authorize the forensic examination of

the Device for the purpose of identifying electronically stored data particularly

described in Attachment B.

   FACTS SUPPORTING PROBABLE CAUSE TO SEARCH THE DEVICE

      7.      According to Racine Police Department reports and records, on or about

March 17, 2022, patrol officers observed a Toyota 4 Runner bearing Nebraska Tag #

WXY616 with a single occupant that matched the description from previous shots

fired calls, the occupant was wearing a white hat and a gray hooded sweatshirt.




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Officers attempted to initiate a traffic stop on the vehicle at which time the vehicle

fled from police. Due to the reckless driving of the occupant of the vehicle officers

terminated the pursuit of the vehicle. Additional responding officers observed the

Toyota 4 Runner parked and a black male, later identified as Smith, jogging down

the road from the vehicle, wearing a gray hooded sweatshirt, a white hat was

recovered from his waistband. Officers were able to take Smith into custody.

      8.     Officers located a black bag in the area where the Toyota 4 Runner

operated by Smith fled from police. Dash camera video recorded the operator of the

fleeing Toyota 4 Runner discard the bag into traffic. During a search of the bag by

police a Glock, model 19, 9mm pistol bearing serial number BTBZ620 with an

extended magazine and 31 rounds of ammunition, a Glock, model 22, .40 caliber pistol

bearing serial number IM3422PD with a “Glock Switch” device affixed to the firearm

enabling it to function fully automatic, one blue pill weighing .4 grams of suspected

MDMA, one yellow pill weighing .4 grams of suspected MDMA, 38.5 grams of

marijuana and 1.3 grams of heroin.

      9.     According to interviews and preliminary reports from ATF agents, an

ATF firearms interstate nexus expert researched the description of the Glock GMBH,

model 22, 40 caliber, semi-automatic pistol bearing serial number IM3422PD also

possessed by Smith on March 17, 2022, and determined in conjunction with his own

research, knowledge, and experience, that the firearm was not manufactured in

Wisconsin and therefore traveled in interstate commerce prior to Smith’s possession

of the firearm.




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      10.      According to certified state copies of conviction, Smith has been

convicted of the following felonies: (1) on or about November 30, 1998, Smith was

convicted of felony bail jumping in case 1998CF001131 in the Circuit Court of Racine

County, Wisconsin, and sentenced to 2 years imprisonment and stayed 2 years’

probation; (2) on or about April 3, 2000, Smith was convicted of manufacture/deliver

cocaine (2 counts) in case 2000CF000091 in the Circuit Court of Racine County,

Wisconsin, and sentenced to 3 years imprisonment; (3) on or about April 6, 2010,

Smith was convicted of maintaining a drug trafficking place and felony bail jumping

in case 2010CF000021 in the Circuit Court of Racine County, Wisconsin, and

sentenced to 1 year imprisonment and 2 years extended supervision; (4) on or about

May 25, 2010, Smith was convicted of possession with intent cocaine habitual

criminality in case 2009CF001041 in the Circuit Court of Racine County, Wisconsin,

and sentenced to 3 years imprisonment and 3 years of extended supervison; (5) on or

about August 21, 2018, Smith was convicted of manufacture/deliver cocaine second

and subsequent (2 counts) in case 2017CF001240 in the Circuit Court of Racine

County, Wisconsin, and sentenced to 2 years imprisonment and 2 years’ extended

supervision.

      11.      On May 20, 2022, a federal criminal complaint for the arrest of Smith

was obtained for unlawful possession of a firearm by a prohibited person.

      12.      On May 23, 2022, Smith was arrested by law enforcement at the Racine

Count Justice Facility. Smith’s girlfriend, Princess Gray, was present at the time of

arrest and relocated with police to her apartment located at 1856 Roosevelt Ave., Unit




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# 2, Racine, Wisconsin, 53406 where she voluntarily gave police Smith’s cell phone.

Smith believed the Device A was located inside the apartment, but it was later

learned the Device A was located in her vehicle. Device A was recovered by law

enforcement and placed into secured evidence while maintaining power to the device.

      13.    On May 24, 2022, Smith was indicted by a federal grand jury in the

Eastern District of Wisconsin for being a felon in possession of a firearm.

      14.    The Device has been in the custody of the Racine Police Department

since its seizure from Smith on May 23, 2022.

      15.    Based upon my training and experience, I know that cellular phones

may contain relevant evidence of possession of a firearm by a prohibited person,

including text messages made or received from the Device that are located in the

memory of the Device, which messages may provide information regarding the

identities of, and the methods and means of operation and communication used by

those who possess a firearm as a prohibited person. Moreover, digital photographs

located in the memory of the Device may contain images of the firearms possessed

or participants involved in the possession of a firearm by a prohibited person.

Moreover, digital photographs stored in the Device may contain images of the user

of the Device, the user’s associates (including persons involved in or knowledgeable

about the subject offenses), places frequented by the user of the phone leading up to

and during the subject offenses, and locations and instrumentalities used in

committing the subject offenses.




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      16.      Through experience as a law enforcement officer and through the

experience of other law enforcement officers as conveyed to me, I have learned that

individuals involved in criminal offenses commonly use cellular telephones as a

means to communicate.

      17.      Individuals involved in criminal offenses also often store telephone

numbers and names or nicknames of fellow conspirators on their telephones and the

telephones also reflect recent call history.     Finally, individuals often use text

messaging and digital photographs in furtherance of their criminal activity that are

stored on cellular telephones.

      18.      Additionally, based on my training and experience, cellular telephones

also can store location information that can provide evidence of the locations where

participants met, including the locations where firearms were stored, transported, or

transferred.

      19.      Because, as explained above, the Device is associated with the target

in this case, and possession of a firearm by a prohibited person, and because, in my

experience and in the experience of other agents, criminals use telephones to contact

co-conspirators, there is probable cause to believe the Device, described further in

Attachment A, contain evidence of violations of possession of a firearm by a prohibited

person.



                                   CONCLUSION




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      20.    Based on the above information, I respectfully submit that there is

probable cause to believe that possession of a firearm by a prohibited person, in

violation of Title 18, United States Code, Section 922(g) has been committed, and that

evidence and instrumentalities relating to this criminal conduct, as further described

in Attachment B, will be found in the Device, as further described in Attachment A.

I therefore respectfully request that this Court issue a search warrant for the Device

more particularly described in Attachment A, authorizing the seizure of the items

described in Attachment B, pursuant to the protocol described in the addendum to

Attachment B.




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                                 ATTACHMENT A

The property to be searched is described as follows:

      a.     A black Apple iPhone telephone with a cracked back area of the phone,
             with telephone number 262-331-8620 associated with the device,
             hereinafter “Device A;”

      Device A is currently located at 730 Center Street, Racine, Wisconsin,

      53403.

      This warrant authorizes the forensic examination of the Device for the

purpose of identifying the electronically stored information described in Attachment

B.




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                                  ATTACHMENT B

      1.      All records on the Device described in Attachment A that relate to

violations of 18 U.S.C. §§ 922(g), including, but not limited to:

           a. lists of customers and related identifying information;

           b. types, amounts, and prices of drugs and or firearms trafficked as well

              as dates, places, and amounts of specific transactions;

           c. any information related to sources of drugs and or firearms (including

              names, addresses, phone numbers, or any other identifying

              information);

           d. any information recording schedules or travel;

           e. all bank records, checks, credit card bills, account information, and

              other financial records.

           f. Photographs and/or video depicting possession of drugs and or

              firearms; and

      2.      Evidence of user attribution showing who used or owned the Device at

the time the things described in this warrant were created, edited, or deleted, such

as logs, phonebooks, saved usernames and passwords, documents, and browsing

history;

      As used above, the terms “records” and “information” include all of the

foregoing items of evidence in whatever form and by whatever means they may have

been created or stored, including any form of computer or electronic storage (such as

flash memory or other media that can store data) and any photographic form.




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